      Case 4:12-cv-00664-YGR Document 274 Filed 04/13/17 Page 1 of 12



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 8                             UNITED STATES DISTRICT COURT

 9              NORTHERN DISTRICT OF CALIFORNIA — OAKLAND DIVISION

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11 LATARA BIAS, ERIC BREAUX, and TROY              Case No. 4:12-cv-00664-YGR
   LYNNE MORRISON, individually, and on
12 behalf of other members of the general public   [PROPOSED] FINAL APPROVAL
   similarly situated,                             ORDER AND JUDGMENT OF
13                                                 DISMISSAL WITH PREJUDICE
                   Plaintiffs,
14
           vs.
15
   WELLS FARGO & COMPANY, a Delaware
16 corporation, and WELLS FARGO BANK,
   N.A., a national association,
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                   Defendants.
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                                                                              4:12-cv-00664-YGR
                                                                       FINAL APPROVAL ORDER
         Case 4:12-cv-00664-YGR Document 274 Filed 04/13/17 Page 2 of 12



 1           WHEREAS, the Court is advised that the Parties,1 through their counsel, have agreed,

 2 subject to Court approval following notice to the Class and a hearing, to settle this Action (the

 3 “Action”) upon the terms and conditions set forth in the Settlement Agreement (the

 4 “Settlement”) which was filed with the Court, and all capitalized terms used herein having the

 5 meanings defined in the Settlement; and

 6           WHEREAS, the Court entered its Order Preliminarily Approving Settlement and

 7 Providing for Notice, setting forth the previously certified Class for settlement purposes only

 8 and preliminarily approved Notice of Settlement to the Class (including notice of the proposed

 9 Settlement and of a fairness hearing thereon), and said notice has been made, along with notice

10 pursuant to 28 U.S.C. § 1715 provided to the appropriate regulators, and the fairness hearing has

11 been held;

12           NOW, THEREFORE, based upon the Settlement and all of the filings, records, and

13 proceedings herein, and it appearing to the Court upon examination that the Settlement is fair,

14 reasonable, and adequate, and upon a Settlement Fairness Hearing having been held after Notice

15 to the Class of the proposed Settlement to determine if the terms of the Settlement are fair,

16 reasonable, and adequate and whether a Final Judgment of Dismissal with Prejudice (“Final

17 Judgment”) should be entered in this Action based upon the Settlement;

18           THE COURT HEREBY FINDS AND CONCLUDES THAT:
19           A.    The provisions of the Settlement, including definitions of the terms used therein,

20 are hereby incorporated by reference as though fully set forth herein.

21           B.    This Court has jurisdiction over the subject matter of this Action and all of the

22 Parties and all Class Members.

23           C.    On December 17, 2015, the Court granted-in-part and denied-in-part Plaintiffs’

24 motion for class certification. The Court amended the class definition on March 7, 2016.

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26       As used herein, the term “Parties” means Plaintiffs Latara Bias, Eric Breaux and Troy
   Lynne Morrison (collectively, “Plaintiffs”) on behalf of themselves and the Class (defined below),
27 and Defendants Wells Fargo & Co. and Wells Fargo Bank, N.A. (collectively, “Wells Fargo” or
   “Defendants”).
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                                                     1                              4:12-cv-00664-YGR
                                                                             FINAL APPROVAL ORDER
      Case 4:12-cv-00664-YGR Document 274 Filed 04/13/17 Page 3 of 12



 1          D.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and for the purposes

 2 of the Settlement only, the Court hereby adopts and reaffirms the Class set forth in its March 7,

 3 2016 Order as the Settlement Class in this Action, as follows: “All residents of the United States

 4 of America who had a residential mortgage serviced by Wells Fargo Bank, N.A., or its

 5 subsidiaries or divisions, and who paid for one or more Broker’s Price Opinions charged by Wells

 6 Fargo (through PAS), for an amount greater than the amount Wells Fargo (through PAS) paid a

 7 third party vendor for the corresponding [BPO], from May 6, 2005 through July 1, 2010.”

 8 Excluded from the Settlement Class are Defendants, any entity in which a Defendant has a

 9 controlling interest or is a parent or subsidiary of, or any entity that is controlled by a Defendant,

10 and any of Defendants’ officers, directors, employees, affiliates, legal representatives, heirs,

11 predecessors, successors, and assigns.       Also excluded from the Settlement Class are Class

12 Members who provided valid and timely notice to exclude themselves or Opt-Out of this Action

13 by the deadline.

14          E.     For all of the reasons set forth in this Court’s Orders dated December 17, 2015 and

15 March 7, 2016, and solely for purposes of effectuating the Settlement, the Court finds that (i) the

16 members of the Settlement Class are so numerous that joinder of all Settlement Class Members in

17 the Action would be impracticable; (ii) there are questions of law and fact common to the

18 Settlement Class that predominate over individual questions; (iii) the claims of Plaintiffs are

19 typical of the claims of the Settlement Class; (iv) Plaintiffs and Class Counsel can fairly and

20 adequately represent and protect the interests of Settlement Class Members; and ( v) a class action

21 is superior to other available methods for the fair and efficient adjudication of the controversy,

22 considering the interests of the Settlement Class Members in individually controlling the

23 prosecution of separate actions, the extent and nature of any litigation concerning the controversy

24 already commenced by Settlement Class Members, the desirability or undesirability of continuing

25 the litigation of these claims in this particular forum, and the difficulties likely to be encountered

26 in the management of a class action.

27          F.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court hereby

28 certifies, solely for purposes of effectuating the Settlement and for no other purpose, Plaintiffs

                                                       2                               4:12-cv-00664-YGR
                                                                                FINAL APPROVAL ORDER
      Case 4:12-cv-00664-YGR Document 274 Filed 04/13/17 Page 4 of 12



 1 Latara Bias, Eric Breaux and Troy Lynne Morrison as Class Representatives, and appoints the law

 2 firms of Baron & Budd, P.C.; Cossich, Sumich, Parsiola and Taylor; and Kingsmill Riess, LLC as

 3 Class Counsel.

 4          G.      The form, content, and method of dissemination of Notice of Settlement given to

 5 the Settlement Class was adequate and reasonable and constituted the best notice practicable

 6 under the circumstances, including both individual notice to all Settlement Class Members who

 7 could be identified through reasonable effort and publication notice.

 8          H.      Notice of Settlement, as given, complied with the requirements of Rule 23 of the

 9 Federal Rules of Civil Procedure, satisfied the requirements of due process, and constituted due

10 and sufficient notice of the matters set forth herein.

11          I.      Notice of the Settlement was provided to the appropriate regulators pursuant to

12 the Class Action Fairness Act, 28 U.S.C. § 1715(c)(1).

13          J.      The Settlement is fair, reasonable, and adequate and in the best interests of the

14 Settlement Class.

15                  i.     The Settlement was negotiated vigorously and at arm’s-length by

16                         Plaintiffs and their experienced counsel on behalf of the Settlement Class.

17                         The case settled only after: (a) several failed attempts at resolution and

18                         with the assistance of a retired U.S. District Court Judge; (b) extensive

19                         briefing on multiple motions, including Wells Fargo’s motions to dismiss

20                         filed June 15, 2012 and August 7, 2012, Plaintiffs’ motion for class

21                         certification filed June 9, 2015, and Wells Fargo’s motion for summary

22                         judgment, filed April 5, 2016, which was fully briefed, argued, submitted

23                         and pending as of the Settlement was reached; (c) the Parties engaged in

24                         extensive discovery, including production by Wells Fargo of electronically

25                         stored information, additional voluminous data, and over 124,000 pages of

26                         documents; (d) the Parties exchanged reports from six expert witness, and

27                         took depositions of the six expert witnesses and over twenty fact witnesses.

28                         Accordingly, both the Plaintiffs and Defendants were well positioned to

                                                      3                               4:12-cv-00664-YGR
                                                                               FINAL APPROVAL ORDER
      Case 4:12-cv-00664-YGR Document 274 Filed 04/13/17 Page 5 of 12



 1                        evaluate the settlement value of this Action. The Settlement has been

 2                        entered into in good faith and is not collusive.

 3                 ii.    If the Settlement had not been achieved, both Plaintiffs and Defendants

 4                        faced the expense, risk, and uncertainty of extended litigation. The Court

 5                        takes no position on the merits of either Plaintiffs’ or Defendants’

 6                        arguments, but notes these arguments as evidence in support of the

 7                        reasonableness of the Settlement.

 8          K.     Plaintiffs, all Settlement Class Members, and Defendants are hereby bound by the

 9 terms of the Settlement.

10          IT IS HEREBY ORDERED THAT:
11          1.     The Settlement is approved as final, fair, reasonable and adequate.            The

12 Settlement shall be consummated in accordance with its terms and provisions.

13          2.     The Action and all claims that are or have ever been contained therein, as well as

14 all of the Released Claims, are dismissed with prejudice as to the Plaintiffs, the Settlement Class

15 Members, and all other Releasing Parties. The Parties are to bear their own costs, except as

16 otherwise provided in the Settlement.

17          3.     Wells Fargo and all Released Parties as defined in the Settlement are released in

18 accordance with, and as defined in, the Settlement.

19          4.     Upon the Effective Date of this Settlement, Plaintiffs and all Settlement Class

20 Members, on behalf of themselves and each of the Releasing Parties shall be deemed to have, and

21 by operation of this Final Judgment shall have, fully, finally, and forever waived, released,

22 relinquished, and discharged all Released Claims against Wells Fargo and the Released Parties,

23 regardless of whether such Settlement Class Member cashes a settlement check.

24          5.     All Settlement Class Members who have not made their objections to the

25 Settlement in the manner provided in the Notice of Settlement are deemed to have waived any

26 objections by appeal, collateral attack, or otherwise.

27          6.     All Settlement Class Members who failed to properly file requests to be excluded

28 from the Class, or Opt-Out, by the Opt-Out Deadline are bound by the terms and conditions of

                                                     4                               4:12-cv-00664-YGR
                                                                              FINAL APPROVAL ORDER
      Case 4:12-cv-00664-YGR Document 274 Filed 04/13/17 Page 6 of 12



 1 the Settlement and this Final Judgment and release and forever discharge the Released Parties

 2 from all Released Claims as provided in the Settlement and herein. A list of the 78 Persons who

 3 validly and timely filed a request for exclusion or Opt-Out is attached hereto as Exhibit 1.

 4          7.     Class Counsel are hereby awarded attorneys’ fees of $12.5 million ($12,500,000)

 5 out of the Settlement Fund, which sum the Court finds to be fair and reasonable, and $1.5 million

 6 ($1,500,000) in reimbursement of expenses out of the Settlement Fund. The aforementioned

 7 attorneys’ fees shall be allocated by Class Counsel in a manner which in their good faith judgment

 8 reflects each counsel’s contribution to the institution, prosecution, and resolution of the Action.

 9          8.     In making this award of attorneys’ fees and reimbursement of expenses to be paid

10 from the Settlement Fund, the Court has considered and found that:

11          (a)    The Settlement has resulted in the payment of $50,000,000 in cash, on which

12 interest has accrued, and that Settlement Class Members will benefit from the Settlement;

13          (b)    Over 288,000 copies of the Notice of Settlement were disseminated to Settlement

14 Class Members indicating that Class Counsel were moving for attorneys’ fees in the amount of up

15 to $12,500,000 out of the Settlement Fund, and for Service Awards of up to $10,000 along with

16 reimbursement of expenses in an amount of up to $1,500,000 out of the Settlement Fund, and no

17 objections were filed against the terms of the proposed Settlement or the ceiling on the fees and

18 expenses requested by Class Counsel contained in the Notice of Settlement;

19          (c)    The Action involves complex factual and legal issues, was actively prosecuted and,

20 in the absence of a settlement, would involve further lengthy proceedings with uncertain resolution

21 of the complex factual and legal issues;

22          (d)    Had Class Counsel not achieved the Settlement, there would remain a significant

23 risk that Plaintiffs and the Settlement Class may have recovered less or nothing from the

24 Defendants; and

25          (e)    The amount of attorneys’ fees awarded and expenses reimbursed from the

26 Settlement Fund are consistent with awards in similar cases.

27          10.    The Court finds that an award to Plaintiffs for their time and efforts in representing

28 the Class in the prosecution of this Action is fair and reasonable, and thus awards each of the

                                                       5                                4:12-cv-00664-YGR
                                                                                 FINAL APPROVAL ORDER
      Case 4:12-cv-00664-YGR Document 274 Filed 04/13/17 Page 7 of 12



 1 Plaintiffs $10 thousand ($10,000) out of the Settlement Fund. Each of the Plaintiffs was deposed,

 2 responded to written discovery, produced documents, and oversaw the prosecution of this Action

 3 by their counsel.

 4            11.   All other provisions of the Settlement are incorporated into this Final Judgment as

 5 if fully rewritten herein. To the extent that the terms of this Final Judgment conflict with the terms

 6 of the Settlement, the Settlement shall control.

 7            12.   Plaintiffs, all Class Members, and all other Releasing Parties are hereby BARRED

 8 AND PERMANENTLY ENJOINED from instituting, commencing, maintaining, or prosecuting

 9 in any court or tribunal any of the Released Claims against Wells Fargo or any of the Released

10 Parties.

11            13.   The Court hereby decrees that neither the Settlement nor this Final Judgment nor

12 the fact of the Settlement is an admission or concession by Wells Fargo or the Released Parties, or

13 any of them, of any liability or wrongdoing. This Final Judgment is not a finding of the validity or

14 invalidity of any of the claims asserted or defenses raised in the Action. Neither the Settlement

15 nor this Final Judgment nor the fact of Settlement nor the settlement proceedings nor the

16 settlement negotiations nor any related documents shall be offered or received in evidence as an

17 admission, concession, presumption, or inference against Wells Fargo or any of the Released

18 Parties in any proceeding, other than such proceedings as may be necessary to consummate or

19 enforce the Settlement, or in an action or proceeding to determine the availability, scope, or extent

20 of insurance coverage (or reinsurance related to such coverage) for the sums expended for the

21 Settlement and defense of this Action.

22            14.   The Action is dismissed with prejudice; subject, however, to this Court retaining

23 jurisdiction over compliance with the Settlement and this Final Judgment.

24            15.   The Court hereby bars all future claims for contribution arising out of the Action or

25 the Released Claims by any Person against the Released Parties.

26            16.   Nothing in this Final Judgment constitutes or reflects a waiver, release or discharge

27 of any rights or claims of Wells Fargo or the Released Parties against their insurers, or their

28 insurers’ subsidiaries, predecessors, successors, assigns, affiliates, or representatives. Nothing in

                                                       6                               4:12-cv-00664-YGR
                                                                                FINAL APPROVAL ORDER
      Case 4:12-cv-00664-YGR Document 274 Filed 04/13/17 Page 8 of 12



 1 this Final Judgment constitutes or reflects a waiver or release of any rights or claims relating to

 2 indemnification, advancement, or any undertakings by an indemnified party to repay amounts

 3 advanced or paid by way of indemnification or otherwise.

 4         17.     In the event that the Settlement is terminated in accordance with its terms, (i) this

 5 Final Judgment shall be rendered null and void and shall be vacated nunc pro tunc, and (ii) this

 6 Action shall proceed as provided in the Settlement.

 7         18.     There is no just reason for delay, and this is a final, appealable order as of when it

 8 is stamped as received for filing.

 9         19.     Final judgment shall be entered herein.

10 IT IS SO ORDERED.

11
                 April 13
     Dated: ________________, 2017               __________________________________________
12                                               HONORABLE YVONNE GONZALEZ ROGERS
                                                 UNITED STATES DISTRICT COURT JUDGE
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                                                      7                                4:12-cv-00664-YGR
                                                                                FINAL APPROVAL ORDER
Case 4:12-cv-00664-YGR Document 274 Filed 04/13/17 Page 9 of 12




      Exhibit 1
              Case 4:12-cv-00664-YGR Document 274 Filed 04/13/17 Page 10 of 12
                                      Bias v. Wells Fargo Bank Settlement
                                         Case No.: 4:12‐cv‐00664‐YGR  
                                                     Exhibit 1 
                                               Exclusion Requests 


                               Middle Name                   First Name     Middle Name    Last Name 
           First Name 1                       Last Name 1 
                               1                             2              2              2 
      1  DAVID                 C              TOURJE         LINDA          L              TOURJE 
      2  KIMBERLY              A              HEFFNER                                        
      3  BRENDA                G              NICKS                                          
                                              GRIFFIS‐
      4  ANNETTE                                                                             
                                              CARTER 
      5    MARY                C              ANGERS                                         
      6    JAMES               E              GULLETT        MARY           H              GULLETT 
      7    BETTY                              VEITEL                                         
      8    NOEL                               FINN           NANETTE                       FINN 
      9    CLOVIS                             NELSON                                         
     10    DENISE              C              BYRD           ERIC           D              BYRD 
     11    SIDNEY              A              FREEMAN SR                                     
     12    THERESA             M              ORTIZ                                          
     13    MARGARET                           WILLIAMS                                       
     14    JOSEPH              C              LIKENS         PATRICIA       L              LIKENS 
     15    RODOLFO                            ROJAS                                          
     16    REESHEMA                           BRITT                                          
     17    WILLIAM             J              GDOVICAK       SHARON         L              GDOVICAK 
     18    RODRIGO                            SILVEIRA                                       
                                                                                           VALDERRA
     19  YOHISI                               VALDERRAMA JAMIE              MANUEL 
                                                                                           MA 
                                                                                           MANISCAL
     20  CARLO                 P              CASAGRANDE  LISA              A 
                                                                                           CO 
     21    JAIME                              ABREGO                                         
     22    OSCAR               J              LLAMAS                                         
     23    VICTORIA                           DISPOTO        MARK           J              DISPOTO 
     24    RUBEN                              HURTADO                                        
     25    PAULA                              RICE                                           
     26    JAMES               A              SMITH                                          
                                                                                           THOMANN 
     27  MICHELLE              A              THOMANN        DONALD         G 
                                                                                           SR 
     28    DANA                M              SPAID                                          
     29    GARY                L              HOFFMAN        VIRGINIA       E              HOFFMAN 
     30    RODRICK             I              SATRE          BONITA         SATRE          DALEY 
     31    ESTATE OF STELLA                   NICK                                           
              Case 4:12-cv-00664-YGR Document 274 Filed 04/13/17 Page 11 of 12

                                           Bias v. Wells Fargo Bank Settlement
                                              Case No.: 4:12‐cv‐00664‐YGR  
                                                          Exhibit 1 
                                                    Exclusion Requests 
                               Middle Name                     First Name    Middle Name    Last Name 
           First Name 1                        Last Name 1 
                               1                               2             2              2 
     32    DEBRA               ANN             TAYLOR                                         
     33    BARBARA             J               SEPANSKI        ALAN          F              SEPANSKI 
     34    BALJIT              KAUR            SRAN            AMARJIT       SINGH          SRAN 
     35    DAVID               L               GUNTER                                         
     36    MICHAEL             M               RAMOS           RIZALINA      S              RAMOS 
                                               BASHUI‐
     37  NAHYOH                F                                                              
                                               GOFFE 
     38    JEFFREY             A               BENNETT         MICHELLE      L              BENNETT 
     39    MYRNA               T               THOMAS          BERTRAM       J              THOMAS 
     40    PATRICIA            R               WILSON                                         
     41    JOHNIE                              WARD            ROSEMARY                     BAREFIELD 
     42    ETHAN               G               SIDES                                          
     43    RAMON               A               SANCHEZ                                        
     44    HARRIET             C               DANIELS                                        
     45    JEREMY              J               NEITZEL         CATHRYN       L              NEITZEL 
     46    RICHARD             E               MAY                                            
     47    ESTATE OF ELAINE    G               PARKINSON                                      
     48    TRENT               C               HARGRAVE        CAROLYN       M              HARGRAVE 
     49    GLEN                                BARNES          BARBARA                      BARNES 
     50    RONALD              MARION          BALL                                           
     51    MARK                R               MOTELL                                         
     52    LIBIA                               QUILES                                         
     53    SHARON              M               HEATON                                         
     54    BRENDAN                             DONNELLY                                       
     55    WILLIE              E               MCCAIN          VIRGIE                       MCCAIN 
     56    PATRICK                             DOHERTY         TIMOTHY                      DOHERTY 
     57    LESLEY              C               EMERY‐HALL                                     
     58    MARCIA              KATHLEEN        HOLMAN                                         
     59    GRACE               E               EBEYER                                         
     60    JUAN                M               SANCHEZ         NORMA         F              SANCHEZ 
     61    WILLIAM             B               STOKES          ROSEMARY                     STOKES 
     62    ANTHONY                             GIRDANO         MARGARET      M              GIRDANO 
     63    STEPHEN             J               LECHNIR         ELISSA        S              LECHNIR 
     64    JANET               S               TILLEY          JOHN          D              TILLEY 
     65    MATHEW              C               RUBY            CAROLYN       I              RUBY 
              Case 4:12-cv-00664-YGR Document 274 Filed 04/13/17 Page 12 of 12

                                     Bias v. Wells Fargo Bank Settlement
                                        Case No.: 4:12‐cv‐00664‐YGR  
                                                    Exhibit 1 
                                              Exclusion Requests 
                           Middle Name                   First Name    Middle Name    Last Name 
           First Name 1                   Last Name 1 
                           1                             2             2              2 
     66    STEVEN          E              WILSON         LORA          A              WILSON 
     67    THERESA                        MARSHALL                                      
     68    STEFANIE        M              TAVERNA                                       
     69    RICHARD         T              TUCCI                                         
                                                         JACQUELIN
     70  VICTORIA          A              OWEN                         M              OWEN 
                                                         E 
     71    LEROY           J              PIERCE         DIANNE                       PIERCE 
     72    JIMMY           W              COX                                           
     73    GLENN           R              MEE                                           
     74    AURORA          B              JONES                                         
     75    MARGARITO                      CHAVERA                                       
     76    JACOB           W              DOBBS                                         
     77    MARIA                          BARRAZA                                       
     78    JAVIER                         MILIAN                                        
